Case 2:19-bk-51311         Doc 20 Filed 05/17/19 Entered 05/18/19 00:26:10             Desc
                         Imaged Certificate of Notice Page 1 of 2



 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.


 IT IS SO ORDERED.



Dated: May 14, 2019



________________________________________________________________

4811-1368-8321
                          UNITED STATES BANKRUPTCY COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

In Re:                                          :
                                                :       Case No.: 19-51311
         Percy J. Cornelious                    :       Chapter: 7
                                                :       Judge: C. Kathryn Preston
                     Debtor.                    :

                 ORDER GRANTING APPLICATION TO EMPLOY COUNSEL
                                  [Docket No. 17]

         This matter is before the Court on the Application to Employ Larry J. McClatchey and
Kegler, Brown, Hill & Ritter Co., LPA as Counsel filed with this Court and served on parties in
interest. Upon due consideration of the same, it is hereby

         ORDERED, that the employment of Larry J. McClatchey and Kegler, Brown, Hill &
Ritter Co., LPA is in the best interest of the bankruptcy estate, and the employment is approved
as of April 16, 2019, the date of the original meeting of creditors under 11 U.S.C. §341. It is
further,

       ORDERED, that the terms of said employment are set forth in the Application filed with
the Court, and that compensation shall be subject to application and approval of this Court
pursuant to 11 U.S.C. §330.

         IT IS SO ORDERED.


Copies to Default List
            Case 2:19-bk-51311              Doc 20 Filed 05/17/19 Entered 05/18/19 00:26:10                               Desc
                                          Imaged Certificate of Notice Page 2 of 2
                                               United States Bankruptcy Court
                                                 Southern District of Ohio
In re:                                                                                                     Case No. 19-51311-ckp
Percy J Cornelious                                                                                         Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0648-2                  User: branigan                     Page 1 of 1                          Date Rcvd: May 15, 2019
                                      Form ID: pdf01                     Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
May 17, 2019.
db             +Percy J Cornelious,   2560 Willowgate Rd,   Grove City, OH 43123-1589

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: May 17, 2019                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on May 15, 2019 at the address(es) listed below:
              Asst US Trustee (Col)    ustpregion09.cb.ecf@usdoj.gov
              Karen E Hamilton    on behalf of Debtor Percy J Cornelious karen@karenhamiltonlaw.net,
               khamiltonlaw@gmail.com;Atty_Khamiltonlaw@trustesolutions.com
              Larry J McClatchey    BGibson@keglerbrown.com, ecf.alert+McClatchey@titlexi.com
              Larry J. McClatchey    on behalf of Trustee Larry J McClatchey lmcclatchey@keglerbrown.com,
               hmckinley@keglerbrown.com
              Richard John LaCivita    on behalf of Creditor   U.S. Bank National Association
               bknoticesouth@reimerlaw.com
                                                                                              TOTAL: 5
